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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     NORTHWEST SHEET METAL WORKERS )
 8   ORGANIZATIONAL TRUST, et al.,          )
                                            )                Case No. MC20-0036RSL
 9                         Plaintiffs,      )
                v.                          )
10                                          )                ORDER DIRECTING ENTRY OF
     MIKE MATTILA,                          )                JUDGMENT
11                                          )
                           Defendant,       )
12              v.                          )
                                            )
13   MM COMFORT SYSTEMS,                    )
                                            )
14                         Garnishee.       )
     _______________________________________)
15
16                                        Summary of Judgment
17          Judgment Creditors:                       Northwest Sheet Metal Workers Organizational
                                                            Trust, et al.
18
            Judgment Debtor:                          Mike Mattila
19          Garnishee-Defendant:                      MM Comfort Systems
            Garnishment Judgment Amount:              $3,963.05
20          Attorneys for Judgment Creditor:          McKanna Bishop Joffe, LLP
21
22          THIS MATTER coming on for consideration upon plaintiffs/judgment creditors’
23   application for judgment on the second answer of the garnishee defendant. It appearing that the
24   garnishee has filed its answers herein stating that it holds funds of the defendant/judgment
25   debtor, Mike Mattila, in the sum of $3,963.05; that judgment creditor has judgment unsatisfied
26   against the judgment debtor in an amount in excess of that amount; that signed affidavit or return

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 1   of service of the Writ of Garnishment, Application for Writ of Garnishment including a copy of
 2   the underlying judgment, indicating service upon the judgment debtor either by personal service
 3   or by certified mail, is on file herein; and that more than twenty (20) days have elapsed since
 4   service of the Writ of Garnishment and the garnishee’s answers thereto, now, therefore, it is
 5   hereby
 6            ORDERED, ADJUDGED AND DECREED as follows:
 7   1.       The Clerk of Court is directed to enter judgment in favor of the judgment creditor and
 8   against the garnishee defendant in the sum of $3,963.05;
 9   2.       Upon payment by the garnishee of the aforementioned sum to the registry of this Court,
10   the garnishee shall be automatically discharged from this action.
11   3.       Upon receipt of the aforementioned payment from the garnishee, the Clerk is authorized
12   and directed to draw a check on the funds on deposit in the registry of this court in the principal
13   amount of $3,963.05, plus all accrued interest, minus any statutory user fees, payable to
14   Northwest Sheet Metal Workers Organizational Trust, et al., and mail or deliver the check to
15   McKanna Bishop Joffe, LLP, ATTN: Noah T. Barish, 1635 NW Johnson Street, Portland, OR
16   97209.
17   4.       Upon receipt of said sum, judgment creditor’s attorney shall cause an appropriate
18   satisfaction of judgment to be filed in the underlying action as to the principal
19   defendant/judgment debtor.
20
21            Dated this 18th day of September, 2020.
22
23                                              Robert S. Lasnik
24                                              United States District Judge
25
26


     ORDER DIRECTING ENTRY OF JUDGMENT                  -2-
